Case 8:01-cv-00069-JDW-MSS Document 374 Filed 11/15/07 Page 1 of 18 PageID 2969




                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

  MIGUEL PEREZ; et aL,
  (Carlos Clem)

                         Plaintiffs,
  VS.                                                               Case No. 8:Ol-CV-69-T-27MSS

  PAVEX CORPORATION,

                         Defendant.
                                           1


                                                ORDER

         BEFORE THE COURT is Pavex's Renewed Motion for Summary Judgment as to Plaintiff

  Carlos Clem (Dkt. 280) and Carlos Clem's Substituted Memorandum in Opposition (Dkt. 293).

  Plaintiff Carlos Clem initiated this action against Defendant Pavex Corporation alleging he was

  subjected to a hostile work environment and discharged based on his race as part of a pattern or

  practice of discrimination in violation of 42 U.S.C. 5 1981. (Dkts. 114,212). Plaintiff also asserts

  a claim for intentional infliction of emotional distress. (Dkt. 212). Upon consideration, Defendant's

  Renewed Motion as to Plaintiff's individual claims is GRANTED in part and DENIED in part.

  Defendant's Renewed Motion is GRANTED as to Plaintiff's hostile work environment and

  intentional infliction of emotional distress claims. The motion is DENIED as to Plaintiff's

  discriminatory discharge claim.

                                         Factual Background

         Plaintiff, an African American, was hired by Tom Glor as a Laborer on February 19, 1999.

  (Clem Depo., pp. 36,40,4 1). The pay scale at the time Plaintiff was hired was $6.75 to $9.25 per
Case 8:01-cv-00069-JDW-MSS Document 374 Filed 11/15/07 Page 2 of 18 PageID 2970




 hour. (Monek Depo., Ex. 3). Plaintiff was hired at $9.50 per hour. (Clem Depo., pp. 40-4 1). Four

  months later, on June 21,1999, Plaintiff resigned for personal reasons. (Clem Depo., pp. 49,66,67).

         On March 27,2000, Glor re-hired Plaintiff as a Lute Man at $10.50 per hour. (Clem Depo.,

  pp. 71-73). Plaintiff was paid more than other employees with more experience. (Clem Depo., pp.

  30-3 1,73-74). Paving Foreman Terry Overcash was Plaintiff's supervisor. (Clem Depo., p. 36).

  One day, Plaintiff had his feet up in his truck while on the job and Overcash told Plaintiff, "you can

  get your ass off my job." (Clem Depo., p. 5 l).'~laintiffresponded, "how am I going to get home

  Terry?" and Overcash replied, "I don't give a fuck how you get home." (Clem Depo., p. 51).

  According to Plaintiff, Overcash thought he had fired Plaintiff. (Clem Depo., p. 51-2). However,

  Glor told Plaintiff's step father, Emanuel Walker, to tell Plaintiff to come back to work the next day.

  (Clem Depo., p. 52). When Plaintiff returned to work, he and Walker were assigned to Foreman

  Tim Weaver's crew. (Clem Depo., p. 52). Plaintiff enjoyed working for Weaver and felt Weaver

  treated him fairly. (Clem Depo., p. 59).

         Plaintiff did not have any other problems with Overcash, although Overcash once told him

  to move "because if the asphalt hits you, we ain't going to be able to see it on you." (Clem Depo.,

  pp. 105-106). Plaintiff also heard Overcash use the term "stupid ass spic" toward a Hispanic

  employee. (Clem Depo., pp. 76,99)

          According to Plaintiff, Glor frequently used foul language, such as "Jesus fucking Christ,"

  "motherfucker," and "you stupid motherfucker." (Clem Depo., pp. 76,120). On one occasion, Glor

  and Plaintiff exchanged curse words after Plaintiff rolled the asphalt incorrectly. Glor said "you

  stupid motherfucker. What are you doing? You only roll once." (Clem Depo., p. 75). In response,

 Plaintiff called Glor a "stupid motherfucker." (Clem Depo., p. 75). In response, Glor threw his hat
Case 8:01-cv-00069-JDW-MSS Document 374 Filed 11/15/07 Page 3 of 18 PageID 2971




  down the hill and made a Caucasian employee retrieve it. (Clem Depo., pp. 75-76). Plaintiff heard

  Glor refer to Hispanic workers as "stupid ass spics" or "stupid Mexicans." However, Glor never

  directed racial slurs toward Plaintiff. (Clem Depo., pp. 76, 120).

          Plaintiff testified that he never heard supervisors Weaver or Glor make "nigger" jokes.

  (Clem Depo., pp. 59, 100, 118, 120). However, "Drew and Terry [Overcash]" would tell "nigger

  jokes" "amongst themselves,"but would not say anything derogatorytoward Plaintiff. (Clem Depo.,

  p. 100). According to Plaintiff, he did not "really feel [he] was discriminated because they didn't

  mess with [him]. . . . - the little comments they made or whatever, you know, they wouldn't make

  them towards [him]." (Clem Depo., p. 99).

          ShopForeman Mike Mooney made Plaintiff feel like Plaintiff "was going to steal something"

  whenever Plaintiff entered the parts room in the mechanics shop. (Clem Depo., pp. 10-11). Mooney

  would not let Plaintiff go into the parts room and would lock the doors if he walked into the shop.

  (Clem Depo., pp. 103-104). According to Plaintiff, Mooney treated Caucasian employee "Drew"

  differently, but Plaintiff would "just laugh at it and let it go." (Clem Depo., pp. 103-4). Plaintiff did

  not know whether Mooney knew about Plaintiff's criminal background. (Clem Depo., p. 103).

  According to Mooney, only shop personnel were permitted in the parts room and there was a sign

  on the door of the parts room indicating that only authorized personnel were permitted. (Mooney

  Depo., pp. 78-80).

         While working at Pavex, Plaintiff never complained to management about Mooney's

  treatment, the cursing, or any other alleged discrimination. (Clem Depo., pp. 104-5, 107). On July

  31, 2000, Plaintiff was terminated because of "lack of work." (Clem Depo., pp. 64, 79; Dkt. 81,

  Index 9). Prior to Plaintiff's termination, Plaintiff and other workers, both African American and
Case 8:01-cv-00069-JDW-MSS Document 374 Filed 11/15/07 Page 4 of 18 PageID 2972




  Caucasian, were having a hard time getting forty hours a week because paving work at Pavex had

  slowed. (Clem Depo., pp. 44,46,64-5). At about the same time, Pavex decided to consolidate the

  Bartow and Orlando operations as a result of a lack of paving jobs in Bartow. (Monek Depo., pp.

  26, 217). Plaintiff was terminated the same day that Ernmanuel Walker and Paul Palmer, two

  workers on Weaver's crew, resigned to take other constructionjobs. (StanleyDec., 'fi 3). According

  to Walker, Glor told Weaver that if Walker and Palmer quit, Weaver's crew "was through." (Walker

  Depo., p. 159). According to Pavex's Vice President of Administration, Barry Stanley, Plaintiff and

  the two other African American employees terminated that day were the least senior employees on

  Weaver's crew. (Stanley Dec., 'fi 3). Defendant retained two African American employees (Cliff

  Riley and John Phillips) and one Caucasian employee (Ronald Vinson) from Weaver's crew.

  (Stanley Dec., 'fi 3).

           According to Plaintiff, he was terminated by Glor because of his race. Overcash testified that

  at some point, Glor told him that he noticed "some people weren't working" and that he was going

  to have to "cut some fat." (Overcash Depo., p. 147). Overcash did not recall Glor using the term

  "nigger" on the work site, yet believed Glor said something like he needed "to get rid of some of

  these niggers." (Overcash Depo., p. 147). African American employee Angria Walker heard Glor

  say he needed to "lay some of them niggers off." (A. Walker Depo., pp. 162-65).' According to

  Walker, Glor made the comment to Overcash while the two men were on the "running track" at

  "Lake Gibson High School." (A. Walker Depo., p. 164). Walker believed the comment was made

  by Glor sometime in June or July of 2000. (A. Walker Depo., pp. 164-65, 169). Overcash's log

  book indicates that the crew was on the Lake Gibson job from July 26-31,2000. (Dkt. 121, Index,

  4).

              Walker testified that Glor said he needed to "lay some of these guys off' and then later during his deposition
  clarified that Glor actually said "[hle's going to lay some of them niggers off." (A. Walker Depo., pp. 163-4).
    Case 8:01-cv-00069-JDW-MSS Document 374 Filed 11/15/07 Page 5 of 18 PageID 2973




                                       Summarv Judgment Standard

             Summaryjudgment is proper if following discovery, the pleadings, depositions, answers to

      interrogatories, affidavits and admissions on file show that there is no genuine issue as to any

      material fact and that the moving party is entitled to judgment as a matter of law. Celotex Corp. v.

      Catrett, 477 U.S. 317 (1986); Fed. R. Civ. P. 56. The Court must view all evidence and all factual

      inferences reasonably drawn from the evidence in the light most favorable to the nonmoving party.

      Adickes v. S.H. Kress & Co., 398 U.S. 144 (1970); Stewart v. Happy Herman's Cheshire Bridge,

      Znc., 117 F.3d 1278, 1285 (1lth Cir. 1997).

             Once a party properly makes a summary judgment motion by demonstrating the absence of

      a genuine issue of material fact, whether or not accompanied by affidavits, the nonmoving party must

      go beyond the pleadings through the use of affidavits, depositions, answers to interrogatories and

      admissions on file, and designate specific facts showing that there is a genuine issue for trial.

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      Celotex, 477 U.S. at 324.

                                                  Discussion

             1.      Hostile Work Environment

              To establish a hostile work environment claim, Plaintiff must establish that (1) he is a

      member of a protected group, (2) he has been subjected to unwelcome harassment, (3) the

      harassment was based on his protected classification, (4) the harassment was sufficiently severe or

      pervasive to alter the terms and conditions of employment and create a discriminatory abusive

      working environment, and (5) Defendant is responsible for such environment under either a theory

      of vicarious or direct liability. Miller v. Kenworth of Dothan, Znc., 277 F.3d 1269, 1275 (1lth Cir.
Case 8:01-cv-00069-JDW-MSS Document 374 Filed 11/15/07 Page 6 of 18 PageID 2974




    2002); see also Gupta v. Florida Board of Regents, 2 12 F. 3d 571,583 (11th Cir. 2000).~

              Although the cursing and racial comments about which Plaintiff complains were offensive,

    Plaintiff has not presented evidence that the conduct was sufficiently severe or pervasive to alter the

    terms or conditions of his employment.3 In determining whether harassment is sufficiently severe

    or pervasive to alter the terms and conditions of employment, both an objective and subjective test

    must be met. Harris v. Forklift Sys., Inc., 510 U.S. 17,21-22 (1993). A plaintiff must establish not

    only that he subjectively perceived the environment as hostile and abusive but also that a reasonable

    person would perceive the environment as hostile and abusive, considering the totality of the
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    circumstances. Gupta, 212 F. 3d at 583. The Supreme Court has identified several factors relevant

    to whether a work environment is hostile or abusive, including (1)the frequency of the conduct; (2)

    the severity of the conduct; (3) whether the conduct is physically threatening or humiliating or a mere

    offensive utterance; and (4) whether it unreasonably interferes with the employee's work

    performance. Harris, 5 10 U.S. at 23. In addition, courts are to consider the social context in which

    the conduct occurred in an effort to distinguish between innocuous behavior and severe and

    pervasive harassment. Oncale v. Sundowner Oflshore Servs., Inc., 523 U.S. 75, 82 (1998).

             Here, the evidence demonstrates that the majority of curse words and foul language were

    directed at everyone regardless of race. While the use of curse words, such as "get your ass off my

    job," "motherfucker," and "stupid motherfucker," by supervisors is inappropriate, it does not


                Cases analyzing the requirements of a hostile work environment claim under Title VII are relevant and
    persuasive in this case, as "both [ ]statutes [§ 198 1 and Title VII]have the same requirements of proof and use the same
    analytical framework." Shields v. Fort James Corporation, 305 F.3d 1280, 1282 ( 1 lthCir. 2002).

              Nothing in the record suggests that Plaintiff knew that Glor said Pavex needed to "lay some of them niggers
    off." Walker testified that he did not believe anyone else heard the comment. Evidence of racially hostile incidents not
    known to Plaintiff during his employment will not support his hostile work environment claim. See Edwards v. Wallace
    Comm. College, 49 F.3d 15 17, 1522 (1lthCir. 1995).
Case 8:01-cv-00069-JDW-MSS Document 374 Filed 11/15/07 Page 7 of 18 PageID 2975




  demonstrate racial animus towards Plaintiff's protected class. See Brown v. Henderson, 257 F.3d

  246,254 (2d Cir. 2001) (the fact that all employees are treated badly suggests that their mistreatment

  shared a common cause that was unrelated to their protected status). Section 1981 does not protect

  employees against nondiscriminating intimidation by bullish and abusive supervisors. See Oncale,

  523 U.S. at 81 ("Title VII is not a 'general civility code"').

          The racially charged incidents Plaintiff testified to, while offensive and reprehensible, are not

  sufficiently severe to withstand summary judgment.                      Plaintiff testified that he never heard

  supervisors Weaver or Glor make "nigger jokes." Rather, Plaintiff testified that "Drew and Terry

  [Overcash] would joke "amongst themselves," but did not direct derogatory comments toward

  Plaintiff. (Clem Depo., pp. 100). While a plaintiff could have a viable hostile environment claim

  even if racial remarks were not directed at him, in this case, Plaintiff testified that the "little

  comments" did not bother him and that he did not feel discriminated against because generally,

  "they" did not "mess with [him]."4

          To be actionable, "[tlhe employee must subjectively perceive the harassment as sufficiently

  severe and pervasive to alter the terms and conditions of employment. . . ." Mendoza v. Borden, Inc.,

  195 F.3d 1238,1246 (1 1" Cir. 1999) (quotation and citation omitted). The record evidence does not

  support a finding that Plaintiff subjectively believed the harassment was sufficiently severe or

  pervasive. Nor does it support a finding that the terms and conditions of Plaintiff's employment

  were altered by the harassment?




              Plaintiff testified that he did not "really feel [he] was discriminated [against] because they didn't mess with
 [him] . . .- the little comments they made or whatever, you know they wouldn't make them towards [him]." (Clem Depo.,
 p. 99).

            Notably, when Overcash reprimanded Plaintiff for having his feet up on the job, he cursed at Plaintiff, but did
 not use a racial slur. (Clem Depo., p. 51). Plaintiff testified that while Overcash may have thought he fired Plaintiff,
 Plaintiff was permitted to come back to work the next day and was re-assigned to Weaver's crew. (Clem Depo., p. 52).
Case 8:01-cv-00069-JDW-MSS Document 374 Filed 11/15/07 Page 8 of 18 PageID 2976




           Overcash's comment about not being able to see the asphalt on Plaintiff, while more 'severe

 than the other racial comments, did not alone, or in combination with the other alleged incidents,

 alter the conditions of Plaintiff's employment. See Edwards v. Wallace Community College, 49 F.3d

  1517,1521 (11" Cir. 1995) (quoting EEOC v. Beverage Canners, Inc., 897 F.2d 1067,1068 (11"

 Cir. 1990)) (to be actionable, racial slurs must be "so commonplace, overt and denigrating that they

  create[ ] an atmosphere charged with racial hostility"). Significantly, the evidence does not suggest

 that Overcash made the comment in an intimidating or threatening manner or directed it toward

  Plaintiff in connection with Plaintiff's job performance. This distinguishes Plaintiff's hostile work

  environment claim from the facts supporting the hostile work environment claims brought by other

  plaintiffs in this case, such as ~atricia~ o r d . ~

           While racial jokes are particularly offensive when uttered by supervisors, not every racially

  charged comment by a supervisor is actionable. See e.g. Barrow v. Georgia Pacijk Corp., 2005 WL

  1926420 *3 (1lth Cir. 2005) (holding that racial symbols and slurs, including the presence of rebel

  flags and the letters "KKK" in the workplace, in addition to several other comments by supervisors

  and management referring to plaintiff as "nigger" and "boy," did not constitute "sufficiently severe

                                                                           see also Smith v. Beverly
  or pervasive" harassment to alter the conditions of plaintiffs empl~yment);~

 Health and Rehab. Sent., Inc., 978 F . Supp. 1116,1122 (N.D. Ga. 1997)(supervisor's comments that

  "all that mooly can do is make coffee and bring it to me," "these goddamn Georgia niggers think they

 own Georgia," and "where I come from niggers knew their place" did not rise to the level of severe

  and pervasive racial harassment).


            Ford testified that her supervisorcalled her a "sorry nigger" after she questionedhis directive for her to shovel
  sand and that he further harassed and discriminated against her by adjusting her work hours.

           Barrow is an unpublished decision and is thus persuasive, but not binding, authority pursuant to Eleventh
 Circuit Rule 36-2.
Case 8:01-cv-00069-JDW-MSS Document 374 Filed 11/15/07 Page 9 of 18 PageID 2977




          Where, as here, the majority of harassment involved curse words directed at employees

  regardless of race, the "nigger jokes" and racial slurs, such as "spic," were not directed at Plaintiff,

  and the racial comment made by a supervisor was not intimidating, threatening or made while

  berating Plaintiff about his job performance, the facts fall shoa of severe and pervasive racial

  harassment. Compare Miller, 277 F.3d at 1277 (racially hostile work environment existed where

  "three to four times a day," foreman called plaintiff b4Wetback,""Spic," and "Mexican mother

  fucker" and foreman and supervisor "used the derogatory names in an intimidating manner, shouting

  them at [plaintiff] during the course of berating him for his job performance, or when they were

  "arguing with him," were "mad with him," or were "taunting him....").

         Further distinguishing Plaintiff's claim from the claim in Miller is that Plaintiff did not

  complain to anyone about the racial comments or alleged hostile behavior. Compare Miller, 277

  F.3d at 1274 (plaintiff's foreman continued to refer to him as "wetback," "spic," and "Mexican

  motherfucker," even though plaintiff had complained about the name-calling, and management had

  discussed the complaint with plaintiff's foreman and co-workers). The Eleventh Circuit has stressed

  that "it is repeated incidents of verbal harassment that continue despite the employee's objections

  that are indicative of a hostile work environment." Miller, 277 F.3d at 1274.

         Applying the objective standard and considering all the relevant factors, the incidents

  Plaintiff complains of are not sufficiently severe or pervasive to establish actionable racial

  harassment. Accordingly, Defendant's motion for summary judgment on Plaintiff's hostile work

  environment claim is GRANTED.

             2.      Discriminatorv Dischar~e

          A plaintiff may establish a prima facie case of discrimination in three ways: (1) by
Case 8:01-cv-00069-JDW-MSS Document 374 Filed 11/15/07 Page 10 of 18 PageID 2978




   presenting direct evidence of discriminatory intent; (2) by meeting the test set forth in McDonnell

   Douglas as applied to circumstantial evidence; or (3) by demonstrating through statistics a pattern

   of discrimination. Standard v. A.B.E.L. Services, Inc., 161 F.3d 1318, 1330 (1 lth Cir. 1998)

   (citation omitted). The analytical framework and burden of production varies depending on the

   method of proof chosen. ~ d . ~

                                                       Direct Evidence

             Direct evidence is evidence that establishes the existenceof discriminatoryintent behind the

   employment decision without any inference or presumption. Carter v. City of Miami, 870 F.2d 578,

   580-81 (1lth Cir. 1989). "[Olnly the most blatant remarks, whose intent could be nothing other

   than to discriminate on the [protected classification] are direct evidence of discrimination." Scott

   v. Suncoast Beverage Sales, Ltd., 295 F.3d 1223,1227 (1 1" Cir. 2002) (quoting Damon v. Fleming



               To establish a "pattern or practice" claim of disparate treatment, Plaintiff must show that intentional
  discrimination was the employer's "standard operating procedure." Cooper v. Southern Company, 390 F.3d 6%,7 16
  (1 1th Cir. 2004) (citations omitted). Plaintiff can prove that discrimination was the standard operating procedure through
  a combination of "statistics and anecdotes," Id. "To meet his burden of proof, [Plaintiff] must prove . . . by a
  preponderance of the evidence that . . . discrimination [is] . . . the regular rather than unusual practice." Id. (quotations
  and citations omitted). In determining pattern or practice liability, Plaintiff is not required to prove that any particular
  employee was a victim of the pattern or practice, rather, he need only establish a prima facie case that such a policy
  existed. E. E. 0.  C. v. Joe's Stone Crab, Inc., 220 F.3d 1263, 1287-88 (1lthCir. 2000). Once this pattern or practice is
  established, the burden of proof shifts to Defendant to demonstrate Plaintiffs showing of discrimination is either
  inaccurate or insignificant. Id. If Defendant fails to rebut Plaintiffs prima facie case, the resulting finding of a
  discriminatory pattern or practice may give rise to an inference that all persons subject to the policy were its victims and
  are entitled to appropriate remedies. Id.
             This Court previously held that, albeit minimally, Plaintiff has alleged a pattern or practice claim of
  discrimination. Specifically, in the Second Amended Complaint,Plaintiff alleges "defendant has refused to contract with
  plaintiffs on the same basis as it does with white non-Hispanic persons, has discriminated against them in contracting
  because of their race, ancestry, and ethnicity, has engaged in a pattern or practice of discrimination against plaintiffs, and
  has retaliated against them because they opposed discrimination and asserted their claims for equal rights, in violation
  of the Civil Rights Act of 1866,42 U.S.C. 5 1981." (Dkt. 114, p. 33). Plaintiff has not alleged a pattern or practice case
  involving a hostile work environment theory of race discrimination. (See generally, Dkts. 114, 213). Notably, the
  Eleventh Circuit has observed that "pattern and practice framework is inherently ill-suited to cases which plaintiffs allege
  "individualized actions taken against them" such as "constructive discharge and hostile environment cases." Hipp v.
  Liberty National Life Ins. Co., 252 F.3d 1208, 1229 n. 29 (1 lthCir. 2001).
             In its motion for summaryjudgment, Defendant does not challenge Plaintiffs claim that Defendant maintained
  a pattern or policy of discrimination. Accordingly, this theory of discrimination will not be addressed.
Case 8:01-cv-00069-JDW-MSS Document 374 Filed 11/15/07 Page 11 of 18 PageID 2979




   Supermkts. of Flu., Inc., 196 F.3d 1354, 1359 (1 lth Cir. 1999)). If a plaintiff provides direct

   evidence of discriminatoryintent, the employer must then prove by a preponderance of the evidence

   that the same employment decision would have been made in the absence of the discriminatory

   intent. Standard, 161 F.3d at 1330. Remarks by non-decisionrnakers or remarks unrelated to the

   decision-making process do not constitute direct evidence of discrimination. E.E. 0.
                                                                                      C. v. Alton

   Packaging Corp., 901 F.2d 920,924 (11th Cir. 1990).

            In support of his discrimination claim, Plaintiff submits the testimony of Angria Walker,

   who heard Glor tell Overcash that they needed to "lay some of them niggers off." Viewing this

   evidence in the light most favorable to Plaintiff, Glor made the comment within five days of his

   decision to terminate Plaintiff and two other African American workers on July 3 1,2000.

            Although a close call, this evidence falls short of direct evidence of discrimination. While

   Glor was the relevant decisionrnaker and the comment relates to his decision to terminate African

   American employees, the comment does not relate directly to Glor's decision to terminatePlaintiff.

   "To be direct evidence, the remark must indicate that the employment decision in question was

   motivated by race." Scott, 295 F.3d at 1227 (emphasis added); see also Cooper v. Southern

   Company, 390 F.3d 695,724 n. 15 (1 1" Cir. 2004) ("[dlirect evident is evidence which itself proves

   the existence of discrimination and does not require inference or interpretation, as for example a



             Plaintiff also submitted the testimony of Terry Overcash, who testified that he "believed" Glor said he needed
  "to get rid of some of these niggers." Overcash could not recall when Glor made the comment and his testimony
  regarding Glor's use of the term "nigger" was somewhat inconsistent.
             Q: He [Glor] did say something like you need to get rid of some of these niggers?
             A: I believe so.
             Q: Did Mr. Glore [sic] ever use that term nigger?
             A: Not that I recall.
  (Overcash Depo., p. 147).
Case 8:01-cv-00069-JDW-MSS Document 374 Filed 11/15/07 Page 12 of 18 PageID 2980




   frank admission from a manager that he refused to hire an applicant because he was black or

   because she was female").

                                   Circumstantial Evidence of Discrimination

            Even if Glor's comment does not constitute direct evidence, the comment is circumstantial

   evidence supporting Plaintiff's claim of discriminatory discharge. When a plaintiff offers

   circumstantial evidence to prove a discrimination claim, the Court applies the analytical framework

   established by the Supreme Court in McDonnell Douglas Corp. v. Green, 4 11 U.S. 792,93 S.Ct.

   1817,36 L.Ed.2d 668 (1973). Under this framework, the plaintiff must first establish aprimafacie

   case of discrimination. The establishment of a prima facie case creates a presumption of

   discrimination. The employer must then offer legitimate, nondiscriminatory reasons for the

   employment action to rebut the presumption. If the employer successfullyrebuts the presumption,

   the burden shifts back to the plaintiff to discredit the proffered nondiscriminatory reasons by

   showing that they are pretextual. Id. at 802-04.

            To establish a prima facie case of discriminatory discharge via circumstantial evidence

   where, as here, the discharge is part of a reduction in force, Plaintiff must establish (1) he is a

   member of a protected class and was discharged; (2) he was qualified for his own position or to

   assume another position at the time of discharge; and (3) sufficient evidence from which a rational

   fact finder could conclude that his employer intended to discriminate against him in making the

   discharge decision. See Standard, 161 F.3d at 1331; see also, Nix v. WLCY Radio/Rahall

   Communications, 738 F.2d 1181, 1185 (1lth Cir. 1984).1°


            lo Both Title VII and 8 198 1 prohibit an employer from discharging an employee on the basis of race. Both
  statutes require the same proof to warrant liability. See Standard, 16 1 F.3d at 1330. The elements of aprimafacie case
  for discriminatory discharge vary slightly depending on the allegations of discrimination. As a general rule, however,
Case 8:01-cv-00069-JDW-MSS Document 374 Filed 11/15/07 Page 13 of 18 PageID 2981




            Plaintiff has established a prima facie case of discrimination as he has submitted evidence

   demonstrating that he is a member of a protected class, he was qualified for his position, and his

   discharge occurred under circumstances giving rise to an inference of discrimination. Walker's

   testimony that Glor told Overcash they needed to "lay some of them niggers off," if believed by the

  jury, is circumstantial evidence that Glor, the supervisor who terminated Plaintiff, acted with

   discriminatory animus. Viewing this evidence in the light most favorable to Plaintiff, Glor's

   comment is both temporally relevant, as it was made within five days of Plaintiff's discharge, and

   directly related to his employment decision to terminate African American employees. Moreover,

   the comment included a racial slur directed at Plaintiff's protected characteristic. This evidence,

   in combination with the other circumstantial evidence submitted by Plaintiff, is sufficient evidence
                                                                                                                    \


   from which a rational fact finder could conclude that Glor intended to discriminate against him in

   making the discharge decision. See Standard, 16 1F.3d 1331. Accordingly, Plaintiff has established

   a prima facie case of discriminatory discharge.

            Glor's comment also raises a question of fact as to whether Defendant's legitimate business

   reason for terminating Plaintiff, namely, a reduction in force and dissolution of Weaver's crew, was

   pretextual. See Reeves v. Sanderson Plumbing, 530 U.S. 133, 143 (2000) (in determining pretext,



  demonstrating a prima-facie case is not onerous, as it requires only that the "plaintiff establish facts adequate to permit
  an inference of discrimination." See Nix, 738 F.2d at 1185 (the prima facie case method was "never intended to be rigid,
  mechanistic, or ritualistic") (citations omitted), see also Herawi v. State of Alabama Dept. of Forensic Sciences, 3 11 F.
  Supp. 2d 1335, 1347 (M.D. Ala. 2004) ([dlemonstrating a prima-facie case is not onerous; it requires only that the
  plaintiff establish facts adequate to permit an inference of discrimination"). There are various ways to raise the inference
  of discrimination other than showing that a similarly situated individual from outside the protected class was treated
  differently. See e.g., Howard v. Roadway Exp., Inc., 726 F.2d 1529,1534 (1 lthCir. 1984) (rejecting the argument that
  black plaintiff could not establish prima-facie case of discriminatory discharge because she was replaced by another
  black person); see also Watkins v. Sverdrup Tech., Inc., 153 F.3d 1308, 1314 ( l l t hCir. 1998) (in discriminatory
  discharge based on age, plaintiff need not establish that employer replaced plaintiff with a younger employee; rather, it
  is sufficient that plaintiff produce "evidence by which a fact finder reasonably could conclude that the employer intended
  to discriminate on the basis of age in reaching [the termination] decision").
Case 8:01-cv-00069-JDW-MSS Document 374 Filed 11/15/07 Page 14 of 18 PageID 2982




   the trier of fact considers all evidence offered, including "evidence establishing theprima facie case

   and inferences properly drawn therefrom"). While Defendant calls into question Walker's

   credibility, credibility determinations, weighing of evidence, and drawing of legitimate inferences

   from the facts are functions reserved for the jury. Anderson v. Liberty Lobby, Znc., 477 U.S. 242,

   257 (1986).

           Defendant' s contentionthat this Court should presume Glor did not act out of discriminatory

   animus in firing Plaintiff pursuant to the "same actor" theory is not persuasive. The Eleventh

   Circuit has recognized a permissible, but not mandatory, inference that the decisionmaker acted

   without discriminatory intent in cases where a defendant presents evidence that the hirer and firer

   are the same individual and the termination of employment occurred within a relatively short time

   following the hiring. Williams v. Vitro Services Corp., 144 F.3d 1438, 1442-43 (1lh Cir. 1998)

   (stressing that "within the [employment discrimination] burden-shifting framework . . . this

   inference is a permissible- not a mandatory - inference that a jury may make in deciding whether

   intentional discriminationmotivated the employer's conduct") "[A] prima facie case plus evidence

   permitting disbelief of the employer's proffered reasons equals the plaintiff's entitlement to have

   the factfinder decide the ultimate issue of discrimination." Id. (citation omitted). Accordingly, "the

  jury must measure the strength of the permissible inference of discrimination that can be drawn

   from the plaintiff's prima facie case along with the evidence that discredits the employer's proffered

   explanations for its decision." Id. at 1443 ("it is the province of the jury rather than the court . . .

   to determine whether the inference generated by 'same actor' evidence is strong enougb to outweigh

   a plaintiff's evidence of pretext"); see also, Gilbert v. Walt Disney Parks and Resorts, LLC, 2005

   WL 1863367 * 11 n. 10 (M.D. Fla. 2005) (improper to grant summary judgment on the basis that
Case 8:01-cv-00069-JDW-MSS Document 374 Filed 11/15/07 Page 15 of 18 PageID 2983




   the hirer and firer are the same actor; rather, "same actor" evidence may be considered by the jury

   in determining pretext issue) (citing Williams, 144 F.3d at 1443).

            Finally, Glor's comment is distinguishable from racial comments found to be insufficient

   as circumstantial evidence of pretext. In Scott, a co-worker made the comment, "[w]e'll burn his

   black ass," two and one half years before the plaintiff was terminated. Scott, 295 F.3d at 1227-28.

   While the co-worker ultimately became the plaintiff's supervisor, the court concluded the comment

   alone failed to create a genuine issue of fact as to pretext because the comment was untimely and

   unrelated to the termination decision. Id. In contrast, Glor's comment was made within five days

   of Plaintiff's discharge and the comment relates circumstantially to Glor's intent to lay off African

   American employees. Simply put, Glor' s comment that Pavex needed to "lay some of them niggers

   off' is not a stray remark, or "conversation fragment, devoid of any meaningful context" or "nexus

   to the employment issues." CJ Mayfield v. Patterson Pump Co., 101 F.3d 1371 (11th Cir. 1996)

   (insufficient evidence in support of discriminatory discharge where a supervisor merely used term

   "nigger" in plaintiff's presence but not in the context of an employment decision). Accordingly,

   Defendant's motion for summaryjudgment on Plaintiffs 5 1981 discriminatory discharge claim is

   DENIED.



            '' In response to Defendant's motion for summaryjudgment, Plaintiff raises a mixed motive claim. To establish
  a claim of mixed-motive, a plaintiff may show through circumstantial evidence that unlawful discrimination was a
  motivating factor in the adverse employment decision. Desert Palace, Inc. v. Costa, 539 U.S. 90, 101 (2003). Since
  Defendant has articulated legitimate non-discriminatory reasons for Plaintiffs termination, Plaintiff must accordingly
  offer sufficient evidence to create a genuine issue of material fact as to whether another "motivating factor" was
  Plaintiffs race. Rachid v. Jack in the Box, Inc., 376 F.3d 305, 3 12 (5thCir. 2004) (quotations omitted). Plaintiff has,
  even in the face of Defendant's legitimate non-discriminatoryreasons, offered sufficient circumstantialevidence to create
  a genuine issue of material fact as to whether his race was a motivating factor in his termination. Rachid ,376 F.3d at
  3 15 (an employer's discriminatory comments that relate to job performance and protected characteristic may reasonably
  be found to establish that the protected characteristic "played a role" in the decision to terminate). It will be for the jury
  to decide whether legitimate and illegitimate reasons motivated Glor when he terminated Plaintiff. To the extent that
  Defendant seeks summary judgment on a mixed-motive defense, its motion is denied, as Defendant has not proved by
  a preponderance of the evidence that Defendant would have terminated Plaintiff even in the absence of bias. Pulliam
  v. Tallapoosa County Jail, 185 F.3d 1182, 1184 (1 lthCir. 1999).
Case 8:01-cv-00069-JDW-MSS Document 374 Filed 11/15/07 Page 16 of 18 PageID 2984




             3.     Intentional Infliction of Emotional Distress

             In order to prove a claim for intentional infliction of emotional distress, Plaintiff must

   establish (1) deliberate or reckless infliction of mental suffering; (2) outrageous conduct; (3) the

   complained of conduct caused the suffering; and (4) the suffering was severe. SeeMetropolitanLife

   Ins. Co. v. Mecarson, 467 So. 2d 277 (Fla. 1985). Conduct is considered "outrageous" when it is

   "so outrageous in character, and so extreme in degree, as to go beyond all possible bounds of

   decency, and to be regarded as atrocious, and utterly intolerable in a civilized community." Id. at

   278; see also Eastern Airlines, Inc. v. King, 557 So. 2d 574, 576 (Fla. 1990) (citing 8 46,

   Restatement (Second) of Torts (1965)). "Generally, the case is one in which the recitation of the

   facts to an average member of the community would arouse his resentment against the actor, and

   lead him to exclaim, 'Outrageous!"' Eastern Airlines, 557 So. 2d at 576 (citing 5 46, Restatement

   (Second) of Torts (1965)).

             "The issue of whether or not the activities of the defendant rise to the level of being extreme

   and outrageous so as to permit a claim of intentional infliction of emotional distress is a legal

   question in the first instance for the court to decide as a matter of law." Baker v. Florida National

   Bank, 559 So. 2d 284,287 (Fla. 4LhDCA 1990) (citations omitted). Defendant contends summary

   judgment on Plaintiff's intentional infliction of emotional distress claim is appropriate because the

   alleged conduct was not sufficiently outrageous and because Defendant cannot be held vicariously

   liable.

                                      Extreme or Outrageous Conduct

             The conduct complained of by Plaintiff, while offensive, does not meet the high standard

   imposed by Florida courts for intentional infliction of emotional distress claims. See Vance v.


                                                      16
Case 8:01-cv-00069-JDW-MSS Document 374 Filed 11/15/07 Page 17 of 18 PageID 2985




   Southern Bell Telephone and Telegram Company, 983 F.2d 1573, n.2 and n.7 (11" Cir. 1993);

   Williams v. Worldwide Flight Svcs. Znc., 877 So. 2d 869 (Fla. 3d DCA 2004); Lay v. Roux

   Laboratories Znc., 379 So. 2d 451,452 (Fla. 1" DCA 1980).

           In Vance, Williams and Lay, more severe racially hostile misconduct was deemed

   insufficient to establish a claim for intentional infliction of emotional distress. In Vance, the

   plaintiff was suspended, her work was sabotaged, she was "intentionally transport[ed] to the wrong

   hospital during her nervous breakdown in an effort to cause her further trauma," a noose was hung

   over her work station and her doctor's request to have her transferred to a different department was

   refused. Vance, 983 F.2d at n.2. In Lay, the defendant launched vicious verbal attacks on the

   plaintiff, called plaintiff a "nigger," and threatened her with the loss of her job. Lay, 379 So. 2d at

   452.   In both cases, the conduct was deemed insufficient to constitute a claim for intentional

   infliction of emotional distress.

           More significantly, however, in Williams, the plaintiff's supervisor called the plaintiff a

   "nigger" and "monkey," falsely accused the plaintiff of stealing, and constantly threatened plaintiff

   with termination. Williams, 877 So. 2d at 870. The court found that this type of behavior, even

   when committed by the plaintiff's supervisor, did not rise to the level of atrociousness necessary

   to constitute intentional infliction of emotional distress. Id.; see also Vamper v. United Parcel

   Service, Znc., 14F.Supp.2d 1301,1306 (S. D. Fla. 1998) (intentional infliction of emotional distress

   claim dismissed where, among other acts of hostility, supervisor told employees false story about

   plaintiff and referred to plaintiff as a "nigger" in Spanish); Mundy v. Southern Bell Telephone and

   Telegraph Co., 676 F.2d 503,504 (1 1th Cir. 1982)(intentional infliction of emotional distress claim

   dismissed where plaintiffs superiors threatened to "get" plaintiff or destroy his career, transferred
Case 8:01-cv-00069-JDW-MSS Document 374 Filed 11/15/07 Page 18 of 18 PageID 2986




   him to less desirable job assignments, gave him unfair negative evaluations and refused to approve

   reimbursement for legitimate business expenses after plaintiff refused to participate in a scheme to

   falsify expense vouchers).12 Plaintiff fails to establish sufficiently outrageous conduct and in turn,

   fails to establish a prima facie case of intentional infliction of emotional distress.13 Defendant's

   motion for summary judgment on Plaintiff's intentional infliction of emotional distress claim is

   therefore GRANTED. Accordingly, it is

             ORDERED AND ADJUDGED that Defendant's Renewed Motion for SummaryJudgment

   as to Plaintiff Carlos Clem (Dkt. 280) is GRANTED in part and DENIED in part. Defendant's

   motion is GRANTED as to Plaintiff's hostile work environment and intentional infliction of

   emotional distress claims and DENIED as to Plaintiff's discriminatory discharge claim.
                                                           'f3:
         DONE AND ORDERED in chambers this                             /5
                                                              day of November, 200'7.




   Copies to:
   Counsel of Record




             l2 Although not binding on this Court, Upglade v. WA. McKerz.de Asphalt Co., 990 F.2d 239 (5th Cir. 1993)
  is persuasive. In Upglade, the court, interpreting the standards under 5 46, Restatement (Second) of Torts, held that a
  supervisor's conduct, namely calling plaintiff a "wetback" in connection with his job performance, was insufficient to
  state a claim for intentional infliction of emotional distress. Upglade, 990 F.2d at 243. The court reasoned that
  "[lliability does not extend to mere insults, indignities,threats, annoyances, or petty oppressions." Id. (citations omitted).
  "Even conduct which may be illegal in an employment context may not be the sort of conduct constituting extreme and
  outrageous conduct." Id. (citations omitted).

           l3 Since the alleged conduct is not sufficiently extreme or outrageous, it is unnecessary to address Defendant's
  contention that it cannot be held vicariously liable.
